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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
   RAMOOE, INC.,

                                     Plaintiff,
                                                   Docket No.: 13-cv-01045 NGG-VMS
         -against-

   THE CITY OF NEW YORK, a Municipal
   Corporation of the State of New York, and the
   NEW YORK CITY DEPARTMENT OF
   HOUSING PRESERVATION AND
   DEVELOPMENT, an agency and governmental
   subdivision of the City of New York,

                                     Defendant.




                    MEMORANDUM OF LAW IN SUPPORT OF
          PLAINTIFF’S MOTION TO SET ASIDE SETTLEMENT AGREEMENT




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  SERVED ON FEBRUARY 22, 2019
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            Plaintiff Ramooe, Inc. (“Plaintiff” or “Ramooe”) respectfully submits this Memorandum

  of Law in support of its motion to set aside the settlement agreement between Plaintiff and

  defendants The City of New York and New York City Department of Housing Preservation and

  Development [Doc. 18] pursuant to Fed. R. Civ. P. 60(b)(3) and (6).

                                      PRELIMINARY STATEMENT

            This motion seeks to vacate a wrong that it premised on a wrong. First, the Defendants did

  not serve the Plaintiff with condemnation proceedings in the Supreme Court, Kings County,

  purported to take Plaintiff’s property unlawfully, and did not bother telling the state court that

  Plaintiff had no idea that the proceedings were going on. Then, after this action was commenced

  to right that wrong, Defendants committed their second wrong when they failed to disclose to

  Plaintiff that Defendants revoked contingent site authorization (commonly called “site control”)

  to two popular community organizations that were charged with developing the subject property.

  In 2013 Defendants and Plaintiff held a settlement conference to attempt resolution of this case.

  Defendants knew that a major consideration for Plaintiff to settle this action was the greater good

  of Plaintiff’s principal’s community; Defendants taking advantage of that good will, did not

  disclose information known to the Defendant significantly before the settlement conference, to

  wit: that the two community organizations lost their funding and their site control and Defendant

  NYC took back site control of the Property. Plaintiff, a result of the non-disclosure, was induced

  to waive its defense of failure of service of the condemnation proceeding and settle for far less

  than the property was worth.

            Plaintiff commenced this case to overturn the unlawful taking of Plaintiff’s real property,

  known as 43 Bartlett Street, Brooklyn, New York 11206 (hereinafter the “Property) 1 by the City


  1
      The Property in question is located is located in the controversial “Broadway Triangle” area of Brooklyn.
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  of New York (“NYC”) and its agency the New York City Department of Housing Preservation

  and Development (“HPD” and together with NYC the “City” or “Defendants”). Just a few months

  after NYC renewed a building permit for Plaintiff to develop the Property, Defendant NYC

  commenced a special proceeding in the Supreme Court of the State of New York, County of Kings,

  under Index No. 22528/99 titled Matter of the Application of the City of New York re: Broadway

  Triangle Urban Renewal Area, Phase II the “Acquisition Proceeding”). The special proceeding

  ostensibly sought to take Plaintiff’s Property under Article 2 of New York Eminent Domain

  Procedures Law (“EDPL). The problem with the Acquisition Proceeding is that Defendants never

  served Plaintiff with process of the Acquisition Proceeding, whether by mail, personal service or

  any other means of delivery.2

         It is now known that Defendants knew that Plaintiff did not receive notice of the

  Acquisition Proceeding but never alerted the Supreme Court, Kings County, as to the same.

  Instead, Defendants concealed their failure to serve Plaintiff and proceeded in the State Court as

  if process had been properly served and jurisdiction obtained. Plaintiff, as the owner of a Property

  in the early stages of construction, could not timely contest any of the proceedings in the

  Acquisition Proceeding. Upon learning of the City’s scheme, Plaintiff commenced the instant

  action in February 2013. Plaintiff’s action sought declaratory and injunctive relief and monetary

  damages (i) under 42 U.S.C. §§1983 and 1988 for the infringement by Defendants of Plaintiff’s

  rights to property, procedural and substantive due process, and equal protection of the laws

  pursuant to the Fifth and Fourteenth Amendments of the United States Constitution; and (ii)

  pursuant to New York Eminent Domain Procedures Law (“EDPL”) and the New York Civil




  2
    Records obtained from Defendants (discussed below) evidence that service of the Condemnation
  proceeding was made to an address that was not the address for Plaintiff Ramooe.


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  Practice Law and Rules (“CPLR”), in respect of the violation of Defendants of the procedures

  required for Defendants to validly exercise the power of eminent domain to acquire the Property.

  This action was ultimately settled by the parties in December 2013 and so-ordered by Hon. Sandra

  L. Townes. [Doc. 18]. The settlement generally provided that Plaintiff would sign a quitclaim

  deed in exchange for $400,000 (a price that was well below the Property’s value).

          After the settlement was so-ordered, Plaintiff’s principals learned that the City was not

  forthright with Plaintiff when the parties negotiated the settlement. After it entered into the

  settlement agreement with Defendant, Ramooe learned from local community leaders that the

  funding from various New York State agencies to two community organizations to develop the

  project had expired and that the funding was not renewed. In Court-ordered discovery directed by

  Magistrate Vera Scanlon, Ramooe further learned that HPD revoked site control from the two

  community organizations that had been sole sourced to develop the Property. As explained below,

  the City, through HPD, reached an agreement with two developers to build housing units on City

  owner Property: Ridgewood Bushwick Senior Citizens Council (“RB,” which was founded by

  former Assemblyman and Democratic County Leader for Brooklyn Vito Lopez) and the United

  Jewish Organizations of Williamsburg (“UJO”). Contrary to typical City policy, RB and UJO

  were designated to develop the Property without the issuance of a Request for Proposals (“RFP”)

  even though neither of the aforementioned entities owned parcels contiguous to Plaintiff’s parcel.3

  Such a privilege is typically reserved for owners of properties contiguous to City owned land.

          Plaintiff accepted far less than the actual value of the Property as a settlement in this action

  because Ramooe’s principals understood that the entities were developing the property for the


  3
    Interestingly, recognizing a need to have an open bidding process Defendant has now, unlike the manner
  in which the project was awarded previously, published an RFP for development of the subject Property as
  part of a larger development (with a carve out for the property if Defendants do not get title to the property
  and/or this Court grants the instant motion).


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  benefit of the community and did not want to upset prominent community organizations in its

  community. Many members of the Ostreicher family live in Williamsburg, Brooklyn and are

  members of the Hasidic community that strongly supports UJO and RB’s activities. Plaintiff

  wanted to keep the peace with UJO and RB when it agreed to settle with the Defendants. The City

  knew that Plaintiff would be opposed to going against UJO and RB and only once the hurdle of

  the Property was resolved to HPD’s satisfaction (i.e. the City agreed to pay well below market

  value to Plaintiff to keep the assemblage intact) did HPD’s general counsel formalize that which

  was already been effectuated: HPD’s general counsel, Matthew Shafit, presented a letter to HPD

  Commissioner Vicki Been in 2016 for her signature to formalize the termination of site control

  that had been dead for 3 years (i.e. when the funding was withdrawn).

         The City clearly and purposely concealed the lapse in funding and withdrawal of site

  control from Plaintiff to induce Plaintiff to settle. Had Plaintiff known that RB and UJO were no

  longer involved in the project they never would have settled. Plaintiff’s unilateral mistake, which

  was induced by Defendants, warrants the vacating of the settlement agreement between the parties.

                                          BACKGROUND

     A. History of the Project and this Action

         Plaintiff Ramooe acquired the Property by deed dated January 15, 1997. See, Exhibit A

  to the Declaration of Chaim Ostreicher dated February 20, 2019 (“Ostreicher Dec.”). In 1998, the

  NYC Department of Buildings renewed a building permit to Plaintiff (Exhibit B to the Ostreicher

  Dec.) and Plaintiff poured a foundation for anticipated construction at the Property. Ostreicher

  Dec, ¶3.

         Just a few months after NYC renewed a building permit to Plaintiff to construct a building

  on the Property, NYC commenced the Acquisition Proceeding on June 25, 1999. The special




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  proceeding sought an Order under Article 2 of the EPTL (i) authorizing the Defendants to file an

  acquisition map in the Kings County Clerk’s Office or the Office of the City Register; (ii) directing

  that upon the filing of said map, title to the property sought to be acquired shall vest in the City;

  (iii) providing that just compensation therefor be ascertained and determined by the Supreme Court

  without a jury; and (iv) providing that notices of claim regarding compensation must be served

  and filed within one year from the vesting date (the “Acquisition Proceeding”). A copy of the

  Petition filed in the Acquisition Proceeding is annexed to the Complaint [Doc. 1] as Exhibit B.

  The Acquisition Proceeding purported to encompass the Property as one of the properties that

  Defendants sought to vest in the City as part of a greater “Broadway Triangle” project. The

  problem with the Acquisition Proceeding is that Defendants did not serve Plaintiff with notice of

  the Acquisition Proceeding, whether by mail, personal service or any other means of delivery.

         The Notice of Pendency filed by Defendants in the Acquisition Proceeding incorrectly

  listed Plaintiff’s address as “524” Bedford Avenue, Brooklyn, New York instead of “527” Bedford

  Avenue, Brooklyn, New York (which are not on the same block). A copy of the Note of Pendency

  is annexed to the Complaint [Doc. 1]; see also, Complaint, ¶19. Plaintiff never received any other

  notice of the Acquisition Proceeding and Plaintiff did not have actual notice of the proceeding to

  timely appear and oppose it. Complaint, ¶¶20-21. An Order was entered in the Acquisition

  Petition that, among other things, gave “each condemnee... a period of one calendar year from the

  date to title vesting in which to file a written claim, demand or notice of appearance.” Complaint,

  ¶22; see also, Order annexed as Exhibit C to the Complaint. Plaintiff did not receive notice of the

  Order in the Acquisition Proceeding in time to seek judicial review of the same. Complaint, ¶24.

  A copy of an affidavit of service produced by Defendants in discovery showing that Ramooe was

  served at “524 Bedford Avenue, Brooklyn, New York” and “Bartlett Street, Brooklyn, New York”




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  (no number provided) is annexed as Exhibit A to the Declaration of Israel Goldberg dated

  February 21, 2019 (“Goldberg Dec.”).

          Plaintiff has learned through discovery this case that the City knew that 524 Bedford

  Avenue, Brooklyn, New York was not a proper address for Plaintiff. Annexed as Exhibit B to the

  Goldberg Dec. is a document provided by Defendants in discovery in which the Defendants

  crossed out “524” and handwrote “527” in its place. While it is unclear when the City learned of

  its mistake, it is clear that the City did, in fact, learn of its mistake and never corrected the same in

  the State Court.

          Plaintiff commenced this action in February 2013. Plaintiff sought declaratory and

  injunctive relief and monetary damages (i) under 42 U.S.C. §§983 and 1988 for the infringement

  by Defendants of Plaintiff’s rights to property, procedural and substantive due process, and equal

  protection of the laws pursuant to the Fifth and Fourteenth Amendments of the United States

  Constitution; and (ii) pursuant to the EDPL and the New York Civil Practice Law and Rules

  (“CPLR”), with respect of the violation of Defendants of the procedures required for Defendants

  to validly exercise the power of eminent domain to acquire the Property. See, Complaint [Doc. 1].

          Later that year, in December 2013, the parties settled this action. [Doc. 18]. The settlement

  agreement provided in pertinent part that Plaintiff would sign a quitclaim deed for the Property in

  exchange for compensation of $400,000, a woefully low number that was strenuously negotiated.

  Ostreicher Dec., ¶¶8, 16. The reason why Ramooe ultimately agreed to such a low number was

  because it was well known that two local organizations with strong ties to the local community,

  RB and UJO, had been chosen to develop the Property (and a few neighboring properties).4


  4
   In fact, the circumstances surrounding UJO and RB’s involvement in the project, when placed under a
  magnifying glass by former HPD Commissioner Vicki Been, was less than transparent. Former
  Commissioner Been testified that one way for a developer to obtain site control without an RFP is if the
  developer owns an adjacent Property. See, Deposition of Vicki Been (“Been Dep.” and annexed to the


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   Ostreicher Dec., ¶9. UJO is run by Rabbi David Niederman, a local leader in the Williamsburg

   Satmar Hasidic community to which the Ostreicher family belongs. Ostreicher Dec., ¶9. RB is

   also an influential organization that was started by Vito Lopez. Id. Members of the Ostreicher

   family discussed often that they were settling for less than the value of the Property because of

   UJO and RB’s involvement. Ostreicher Dec., ¶10. Plaintiff put their community first to keep the

   peace with the two local community organizations. Ostreicher Dec., ¶10. In addition, Plaintiff

   was told that various legal challenges, including an injunction against the City in a proceeding in

   the Supreme Court, New York County, entitled Broadway Triangle Community Coalition v.

   Bloomberg (Index No.: 112799/09) was close to being resolved. See, Broadway Triangle Cmty.

   Coal. v. Bloomberg, 35 Misc. 3d 167, 941 N.Y.S.2d 831 (Sup. Ct. NY Cty. 2011). Defendants

   unquestionably knew from the back and forth and negotiations, as well as their general

   understanding of the political and communal landscape in South Brooklyn, that these factors

   (especially UJO’s involvement) was important to Plaintiff’s agreement to settle. Ostreicher

   Dec., ¶12.

          After Ramooe learned that it had been misled by Defendants and sought to vacate the

   settlement agreement, Magistrate Judge Vera Scanlon supervised discovery. During discovery,

   Plaintiff learned that Defendants were well aware that Plaintiff was being misled. Plaintiff knew

   that UJO and RB had lost their site control years earlier but that HPD did not make it official until

   2016. The facts learned in discovery prove that the settlement agreement should be vacated.



   Goldberg Dec. as Exhibit C), 27:7-18. Former Commissioner Been testified that she believed in
   competition and transparency. Been Dep., 50:23-25. A review of public records does not reveal any
   contiguous property owned by UJO or RB. Former Commissioner Been did not know how UJO and RB
   obtained site control of the Property. Been Dep., 51:15. It appears from documents produced by the
   Defendants that RB simply sent a letter expressing interest in the Property to obtain site control. See,
   Exhibit D to the Goldberg Dec. (produced by Defendants as D255). After submitting various paperwork,
   UJO and RB were awarded site control by HPD on February 4, 2009. See, Exhibit E to the Goldberg Dec.
   (produced by Defendants as D257-260).


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   B. Discovery

            Plaintiff obtained documentation in discovery that shows that New York State authorized

   funding for the Project in August 2009. See, e.g., Exhibit F to Goldberg Dec. (produced by

   Defendants as D273-280). Due to the injunction in the Supreme Court, New York County, the

   funding ultimately expired and New York State withdrew its funding for the project by letter dated

   January 24, 2013. See, Exhibit G to the Goldberg Dec. (produced by Defendants as D285). The

   expiration of the funding came approximately one month before this action was commenced.

            Plaintiff took the deposition of Jack Hammer, (the former HPD Director of Development

   for Brooklyn). Mr. Hammer testified at his deposition that he was one of the members of HPD’s

   site control committee responsible for the award of site control of Plaintiff’s Property to RB and

   UJO. Hammer Deposition (hereinafter the “Hammer Dep.” and annexed as Exhibit H to the

   Goldberg Dec.), 26:7-13; 56:7-57:22. Mr. Hammer also testified that revoking RB and UJO’s site

   control from was discussed with members of HPD’s Site Control Committee because RB and UJO

   did not meet the contingencies set out by the City. Hammer Dep., 111:15-23. There was no formal

   termination until 2016. Hammer Dep., 111:24-112:5.

            After taking Mr. Hammer’s deposition, Plaintiff took the deposition of Matthew Shafit, the

   long-time Deputy Commissioner and General Counsel for HPD (since 1995). Mr. Shafit explained

   that after NYC and HPD granted RB and UJO contingent site authorization (i.e. site control), RB

   and UJO were able to seek, and subsequently obtained, financing from New York State to build

   housing on three assemblages in the Broadway Triangle that the City obtained by eminent domain.5

   See, Deposition of Matthew Shafit (hereinafter the “Shafit Dep.” and annexed as Exhibit I to the

   Goldberg Dec.). Mr. Shafit also testified that he drafted a letter for HPD Commissioner Been to


   5
    In addition, Mr. Shafit testified that “HPD is a major construction lender” that provides permanent financing and tax
   exemptions or abatements, zoning benefit and subsidies to property owners. Shafit Dep., 24:18-25:18.


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   sign in 2016 that formally withdrew contingent site authorization from RB and UJO. Shafit Dep.,

   45:3-8. A copy of said letter is annexed as Exhibit J to the Goldberg Dec. (and was produced by

   Defendants as D4). Former Commissioner Been testified that her signature is found on the letter

   but that Mr. Shafit (or someone working for him) drafted it. Been Dep. (Exhibit C to the Goldberg

   Dec.), 39:23-40:14. Been explicitly testified that the reason why she withdrew site control from

   RB and UJO was on the advice of counsel. Been Dep., 34:13-36:21. Defendants’ attorneys

   objected on privilege grounds to testimony on further details. Id.

          Mr. Shafit’s testimony, which was taken after Mr. Hammer and Commissioner Been’s

   testimony, was tailored to contradict Mr. Hammer’s testimony. Most notably, Mr. Shafit testified

   explicitly that he did not recall hearing the name “site control committee” used (Shafit Dep., 36:7-

   9) and to his knowledge there was no such committee even though former Commissioner Been

   explicitly testified that she dealt with the committee (Been Dep., 16:6-10) and Mr. Hammer

   testified that he was on the committee (Hammer Dep., 26:7-13). Shafit would not reveal why HPD

   waited until 2016 to withdraw site control and testified that “somebody” told him to write the letter

   approximately one month earlier. See, Shafit Dep. 51:16- 52:2; see also, gen., Shafit Dep., pp. 56-

   59. Essentially, Defendants hid behind the attorney-client privilege. See, Shafit Dep., 59:15-19.

                                             ARGUMENT

          Plaintiff sought to rescind its settlement agreement with the Defendants soon after signing

   it in late 2013 under the principal of unilateral mistake. “A settlement agreement is a contract that

   is subject to the ordinary rules of contract construction and interpretation.” Ostman v. St. John's

   Episcopal Hosp., 918 F. Supp. 635, 643 (E.D.N.Y. 1996); see also, Texas 1845, LLC v. Kyaw, 117

   A.D.3d 1028, 1031, 986 N.Y.S.2d 574, 576 (2nd Dept. 2014) citing Cervera v. Bressler, 106

   A.D.3d 683, 964 N.Y.S.2d 587 (2nd Dept. 2013) (accord).




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          New York recognizes rescission of an agreement if there is unilateral mistake coupled with

   fraudulent concealment by one party. See, e.g., Travelers Indem. Co. of Illinois v. CDL Hotels

   USA, Inc., 322 F. Supp. 2d 482, 498 (S.D.N.Y. 2004). “The elements of a claim for rescission

   based on fraud are misrepresentation, concealment or nondisclosure of a material fact; an intent to

   deceive; and an injury resulting from justifiable reliance by the aggrieved party.” Allen v.

   WestPoint-Pepperell, Inc., 945 F.2d 40, 44 (2d Cir. 1991) citing Nat'l Union Fire Ins. Co. of

   Pittsburgh, Pa. v. Walton Ins. Ltd., 696 F. Supp. 897, 902 (S.D.N.Y. 1988). “A ‘strong inference

   of fraudulent intent’ may be established either ‘(a) by alleging facts to show that defendants had

   both motive and opportunity to commit fraud, or (b) by alleging facts that constitute strong

   circumstantial evidence of conscious misbehavior or recklessness.’” In re Carter-Wallace, Inc.,

   Sec. Litig., 220 F.3d 36, 39 (2d Cir. 2000) citing Shields v. Citytrust Bancorp, Inc., 25 F.3d 1124

   (2d Cir. 1994).

          “[A] court sitting in equity can rescind a contract for unilateral mistake if failure to rescind

   would unjustly enrich one party at the other's expense, and the parties can be returned to the status

   quo ante without prejudice. Gessin Elec. Contractors, Inc. v. 95 Wall Assocs., LLC, 74 A.D.3d

   516, 520, 903 N.Y.S.2d 26, 29 (2nd Dept. 2010).

          Defendants knew from settlement negotiations that Plaintiff’s principals were aligned with

   the UJO. Plaintiff’s principal, Eugene Ostreicher, attended settlement meetings and his son, Chaim

   Ostreicher, attended at least one. Ostreicher Dec., ¶13. Defendants were cognizant of the

   Ostreichers’ appearance to be that of Hasidic Jews and Defendants knew that Plaintiff’s address

   on Bedford Avenue is in Williamsburg in an area in which Hasidic Jews reside. The Ostreichers

   also reinforced to Defendants’ representatives that their interests were aligned with those of UJO.

   Ostreicher Dec., ¶14.




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          The revocation of contingent site authorization (commonly referred to as site control) was

   not public and was held close to the vest by HPD until 2016. See, Exhibit J to the Goldberg Dec.

   In 2016, well after the settlement agreement was signed and years after authorization for project

   funding was withdrawn, HPD’s General Counsel Matthew Shafit presented Commissioner Been a

   letter that he drafted to formally withdraw contingent site authorization for the RB and UJO project

   at the Property. Commissioner Been signed that letter. No one from HPD would shed any light

   for the delay in the “formal” revocation of contingent site authorization in 2016 when New York

   State withdrew its funding much earlier, in 2013, and the Site Control Committee had discussed

   terminating RB and UJO’s site control at that time. Instead, everyone from HPD hid behind an

   attorney/client privilege.

          Defendants had both the motive and opportunity to hold the withdrawal of funding and

   withdrawal of site control from Plaintiff. Defendants knew that UJO was important, Defendants

   knew that they were getting a great deal for the Property, and Defendants knew that if they buried

   the site control issue within their agency for a few years then Plaintiff would never find out in time

   to raise objection.

          At bottom, Defendants had the opportunity to make sure that it resolve a public relations

   nightmare for the City of New York, its taking of the Property (and numerous other properties in

   the Broadway Triangle) without the owner even knowing, for a bargain. Defendants did not want

   to lose that opportunity and withheld relevant information so Plaintiff would think that UJO would

   benefit from the parties’ settlement agreement. Defendants knew that was not true, did not say

   anything, and concealed the true nature of UJO’s future with the Property: none! The settlement

   agreement should accordingly be vacated in its entirety.




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                                             CONCLUSION

          For the reasons set forth herein, the Settlement Agreement between the parties should be

   set aside in its entirety pursuant to Fed. R. Civ. P. 60(b)(3) and (6).

   Dated: New York, New York
          February 21, 2019


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